                   IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                  DOCKET NUMBER 3:21-CV-00232-MOC-SCR


ILONKA AYLWARD,
                                 Plaintiff,
vs.

CITY OF CHARLOTTE,

Charlotte Mecklenburg Stormwater Services
(a.k.a. “Charlotte Stormwater Services,”                   NOTICE OF APPEAL
“Charlotte/Mecklenburg Storm Water,”
“Charlotte Storm Water Services,”
“City of Charlotte Storm Water Services”),

Armstrong Glen, P.C.,

Joseph (“Josh”) H. Letourneau, P.E.,

                                  Defendants

Plaintiff Ilonka Aylward appeals to the United States Court of Appeals for the Fourth Circuit

from the final judgment entered on 9/4/2024 and the intermediate orders necessarily affecting the

judgment, including Order entered on 10/29/2021 (Doc. 69), Order entered on 9/1/22 (Doc. 106),

Order entered on 4/26/23 (Doc. 142) and “Order” entered on 5/8/23 (Doc. 144).



Respectfully submitted this the 1st day of October 2024.

                                              /s/ Ilonka Aylward
                                              Ilonka Aylward, Esq. N.C. State Bar 31933
                                              1645 Scotland Ave
                                              Charlotte, North Carolina 28207
                                              aylward@aylwardfamilylaw.com
                                              (704) 560.4854



                                                !1

      Case 3:21-cv-00232-MOC-SCR Document 213 Filed 10/01/24 Page 1 of 2
                                  CERTIFICATE OF SERVICE

I certify that I have this day electronically filed the foregoing with the Clerk of Court using the
CM/ECF system, which will send notifications of such filing to the users registered on the
Court’s CM/ECF System, and served the attorneys directly by e-mail to the addresses registered
with this court as follows:


The CITY OF CHARLOTTE                                Mr. ARMSTRONG GLEN, P.C.
c/o Ryan Rich                                        and
600 East 4th Street                                  JOSEPH (“JOSH”) H. LETOURNEAU, P.E.,
Charlotte, N.C. 28202                                c/o Sandra Mitterling Schilder
ryan.rich@charlottenc.gov                            Ragsdale Liggett, PLLC
                                                     2840 Plaza Place, Suite 400
                                                     sschilder@rl-law.com

Mecklenburg County
c/o Ronald L. Gibson
Buff, Bond, Cobb, Wade & Bethune, LLP
831 East Morehead Street, Suite 560
Charlotte, N.C. 28202
rgibson@rbcwb.com


Dated: October 1, 2024

                                                             /s/ Ilonka Aylward
                                                             Ilonka Aylward, Esq.
                                                             N.C. State Bar 31933
                                                             1645 Scotland Ave
                                                             Charlotte, North Carolina 28207
                                                             aylward@aylwardfamilylaw.com
                                                             (704) 560.4854




                                                !2

     Case 3:21-cv-00232-MOC-SCR Document 213 Filed 10/01/24 Page 2 of 2
